County attorney says e-mails constitute
political advocacy

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Robert Boyer / Times-News

An e-mail from Fairness Alamance member Hannah Gill appears to show her engaging in
political activity while on the job at the University of North Carolina in violation of a federal law
that prohibits such activity by government workers, says Alamance County Attorney Clyde
Gill, the assistant director of UNC’s Institute for the Study of the Americas, says she was not
working and didn’t use a university computer when she sent an e-mail notifying recipients
about an investigation into the alleged profiling of Hispanics at the Alamance County Sheriff's
Office, and announcing a campaign event for Democratic challenger for sheriff Ron Parrish.
Albright said he will turn over any information that appears to be a Hatch Act violation to the
N.C. Board of Elections in Raleigh and the Office of University Counsel at UNC.

Albright's intentions left Don Wright, the legal counsel for the N.C. Board of Elections,
scratching his head.

“Doesn't he know about the Hatch Act? ... It’s a federal matter,” said Wright. “I’m just going to
say, ‘What in the heck are you doing?”

Officials at the University of North Carolina, not Albright, should investigate if they feel Gill was
engaged in political activity while working in violation of the Hatch Act, said Wright. The Hatch
Act is a federal law that limits certain political activities by some federal employees.

State law does prohibit state employees like Gill from engaging “in political activity while on
duty or within any period of time during which he is expected to perform services for which he
receives compensation from the State” or otherwise “using the authority of his position, or
utilize State funds, supplies or vehicles to secure support for or oppose any candidate, party,
or issue in an election ...”

His agency regulates state elections, not Hatch Act violations, Wright said. If a state agency
like UNC thinks there is “a misuse of state property,” it is the agency’s responsibility “to
investigate and get involved in.”

At issue is an e-mail Gill sent at 10:31 a.m. on June 23 informing recipients of the Justice
investigation and how they can contact the federal agency. (The June 23 email is identical to a
July 5 e-mail from Gill sent at 10:25 p.m. that Commissioner Tim Sutton provided recently to
the Times-News.)

In her e-mail, Gill mentioned four presentations on the Justice investigation she and fellow
Fairness members Laura Roselle and Blanca Nienhaus gave to English as a Second
Language classes at the Burlington campus of Alamance Community College.

In that e-mail, Gill also announced a July 17 fundraiser for Parrish. “If you are interested in
helping sell raffle tickets, contact Laura Roselle,” she concludes in the e-mail.

In Albright’s opinion, Gill’s e-mail was sent while she was working and is therefore a violation
of the Hatch Act.

Albright’s contentions, and his work to get information from her UNC e-mail account and from
ACC officials, are part of an effort to throw the spotlight off the Justice investigation, Gill said.
“This is a baseless allegation meant to intimidate me,” she said.

Albright obtained the June 23 e-mail from Alamance Community College President Martin
Nadeiman after asking the college to provide e-mails and other information from Gill, Roselle
“and other persons associated with Fairness Alamance, as well as all public records to or from

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or copied to” Gill and Roselle “that describe, detail, or in any way relate to the association
known as Fairness Alamance, the 287(g) program in Alamance County, and illegal
immigration, including, but not limited to, all correspondence, including e-mail correspondence
... fegarding the ongoing Department of Justice investigation in Alamance County, Fairness
Alamance and the support of political agendas in the upcoming Alamance County elections.
“These records,” Albright continued, “should include those records stored on personal home
computers that were accessed by any Alamance Community College employees or faculty via
university college computers as well as their daily calendars for the period January 1, 2007,
through the present.”

At Albright’s request, Nadelman also provided a July 21 e-mail that Arleen Frye, ACC English
as a Second Language Coordinator, sent to Gill regarding a media request about Fairness’
ESL presentations. Frye asked Gill about what she and the other Fairness Alamance members
said to the classes and said she would tell ACC spokesman Ed Williams that Fairness
Alamance “has an open invitation to visit our classes and share info that affects our students!”
Williams said Thursday that Fairness, like other community groups, held scheduled meetings
at the Burlington campus, but were not authorized to make presentations to classes.

Albright has also asked Freainas 4, UNC’s director of institutional records and reporting
compliance, for e-mails from Gill and Savannah Helvey, a rising sophomore at UNC who is
Gill’s daughter.

Albright said he decided to file the information requests with UNC and ACC after Justice
Officials refused to provide the identity of those who had complained to Justice, and refused to
provide specific allegations of profiling.

Stabile hasn't provided copies of the e-mails, but has said she would, Albright said.

Stabile was unavailable for comment Thursday.

in a July 28 e-mail to Gill, Nadelman took Gill to task for her June 23 e-mail. “When we spoke
Monday, | distinctly remember you saying that Fairness Alamance was not advocating support
for Ron Parrish, because you had members who supported both major political parties. Yet,
when | read the below e-mail, you are indeed coming out directly and advocating for Ron
Parrish, in writing.

“This is disappointing, because | took you at your word,” Nadelman continued. “I truly hope
when you went to the ESL classes at ACC that this stance was not mentioned. As | indicated,
because of your actions, the reactions from some in the community may actually serve the
reverse of what you had intended. When those who question the actions taking place on our
campus are in a position to negatively affect our ability to serve, then the initial actions may do
more harm than good.”

Gill said Fairness limited its ESL presentations to the Justice investigation and how to contact
a Justice official and “never” spoke about Parrish, other political candidates or engaged in
political activity.

  

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